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 4

 5   Attorney for Defendant,
     Richard Melella
 6

 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      ) Case No.: 1:13-cr-00267-LJO-SKO-1
11                                                  )
                         Plaintiff,                 ) STIPULATION TO CONTINUE
12                                                  ) SENTENCING HEARING; ORDER
     vs.                                            )
13                                                  ) Date: July 18, 2016
     RICHARD MELELLA                                ) Time: 8:30 a.m.
14                                                  )
                        Defendant.                  ) Judge: Hon. Lawrence J. O’Neill
15                                                  )
16
     TO: PHILLIP A. TALBERT, ACTING UNITED STATES ATTORNEY, AND
17
     CHRISTOPHER D. BAKER, ASSISTANT UNITED STATES ATTORNEY, COUNSEL
18   FOR PLAINTIFF:

19           IT IS HEREBY STIPULATED by and between the parties hereto, and through their
20   respective attorneys of record, that the Sentencing hearing in the above captioned matter now set
21   for July 18, 2016 at 8:30 am, be continued to August 8, 2016 at 8:30 a.m. The continuance is

22   requested by counsel for Defendant, Richard Melella, Attorney Michael W. Berdinella, Counsel
     for Mr. Melella will need additional time to ensure that Mr. Melella has been stabilized on either
23
     Depakote or Zyprexa as advised in the report previously submitted to the court by Dr.
24
     Howsepian before West Care may admit him which the defendant will request, for the
25
     Sentencing Hearing. Counsel for Mr. Richard Melella agrees to exclude time until August 8,
26
     2016.
27

28           DATED: July 12, 2016
                                                  Respectfully submitted,
                               Stipulation to Continue Sentencing                              1
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 2                                                /s/ Michael W. Berdinella
                                                  Michael W. Berdinella
 3
                                                  Attorney for Defendant
 4                                                Richard Melella
            DATED: July 12, 2016
 5
                                                  /s/Christopher D. Baker
 6                                                Christopher D. Baker
                                                  Assistant United States Attorney
 7

 8   IT IS SO ORDERED that the sentencing of Richard Melella is continued until August 8, 2016
     and that time is excluded in the interests of justice pursuant to 18 U.S.C.§3161 (h)(7)(A) and (B)
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10   IT IS SO ORDERED.
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        Dated:     July 13, 2016                           /s/ Lawrence J. O’Neill _____
12                                                UNITED STATES CHIEF DISTRICT JUDGE

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                               Stipulation to Continue Sentencing                              2
